                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

CHRISTIE ANDREWS,                             )
                                              )
         Plaintiff,                           )     CASE NO. 3:21-cv-00526
                                              )
v.                                            )     Judge Eli J. Richardson
                                              )     Magistrate Judge Jefferey S. Frensley
TRI STAR SPORTS AND                           )
ENTERTAINMENT GROUP, INC.,                    )
                                              )     JURY DEMAND
         Defendant.                           )

                                PROPOSED PROTECTIVE ORDER

         This matter is before the Court pursuant to the Motion for Entry of a Protective Order

filed by Defendant Tri Star Sports and Entertainment Group, Inc. (“Tri Star” or “Defendant”).

To provide for the efficient and orderly production of documents and to preserve and maintain

the confidentiality of certain documents and information to be produced in this litigation by the

parties and/or by any non-party, and based upon the agreement of the parties, the Court finds

good cause to enter this Order, and, therefore, pursuant to the Court’s authority under Federal

Rule of Civil Procedure 26(c), it is hereby ORDERED:

         1.      Definitions.

                 (a)    “Confidential Information” means information that constitutes a trade

secret or reveals confidential research, proprietary, development, business, financial, or

commercial information or personal information that implicates individual privacy interests such

as personal financial, tax, health, or employment information, or personal identifying

information such as home addresses and telephone numbers of any person.             Confidential

Information does not include information that has been disclosed in the public domain and in a

manner not in conflict with this Agreement.



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               (b)    “Highly Confidential Information” means information of a proprietary

business or technical nature that might reasonably be of value to a competitor or potential

customer of the party or nonparty holding the proprietary rights thereto, or might reasonably

pose a commercial disadvantage to the producing party, and that must be protected from

disclosure.   Highly Confidential Information does not include information that has been

disclosed in the public domain.

               (c)    “Confidential Material” means any document(s) or testimony designated

as “Confidential” pursuant to Paragraph 2 of this Order and any Confidential Information

contained therein.

               (d)    “Highly Confidential Material” means any document(s) or testimony

designated as “Highly Confidential” pursuant to Paragraph 2 of this Order and any Highly

Confidential Information contained therein.

       2.      Designation.

               (a)    A document (or portion of a document) that a party or a third party

determines in good faith to contain Confidential Information or Highly Confidential Information

may be designated as Confidential Material or Highly Confidential Material by (1) stamping

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” on the document, (2) otherwise indicating

the portion that is confidential or highly confidential, (3) employing other means provided for in

this Order, or (4) using any other reasonable method agreed to by the parties. The party or third

party producing documents designated as Confidential Material or Highly Confidential Material

may also produce a copy of each document with the Confidential Information or Highly

Confidential Information redacted, which redacted copy shall not be considered Confidential

Material or Highly Confidential Material.




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               (b)     A party or a third party may, on the record of a deposition or by written

notice to opposing counsel not later than thirty (30) days after receipt of the deposition transcript,

designate any portion(s) of the deposition as Confidential Material or Highly Confidential

Material based on a good-faith determination that any portions so designated constitute

Confidential Information or Highly Confidential Information.          To the extent possible, any

portions so designated shall be transcribed separately and marked by the court reporter as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”.

               (c)     By designating a document or testimony as Confidential Material or

Highly Confidential Material pursuant to Paragraph 2, a party or a third party represents that it

has made a bona fide, good-faith effort to determine that the document or testimony does, in fact,

contain Confidential Information or Highly Confidential Information.

               (d)     No party concedes that any documents or testimony designated by any

other party as confidential or highly confidential are in fact Confidential Information or Highly

Confidential Information.

               (e)     Any inadvertent failure to assert confidentiality shall not preclude a party

from designating any documents or testimony as Confidential Material or Highly Confidential

Material, in which event the items subject to such designation shall thereafter be treated as

Confidential Material or Highly Confidential Material. The producing party shall notify the

other party of such designation in writing.

       3.      Challenge to Designation.

               (a)     Any party may challenge a designation made under Paragraph 2 by written

notice of its objection to counsel for the designating party or non-party.           Challenge to a




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designation made under Paragraph 2(b) may be made either upon the record of the deposition or

as provided in the preceding sentence.

               (b)     In the event a designation is challenged, the challenging and designating

party shall attempt to resolve any challenges in good faith on an expedited and informal basis. If

the challenge cannot be expeditiously and informally resolved within ten (10) days, the party

challenging the designation may move for an appropriate ruling from the Court. The material

shall continue to be treated as Confidential Material or Highly Confidential Material unless the

parties agree in writing or the Court rules to the contrary.

               (c)     A party shall not be obligated to challenge the propriety of the designation

of documents as Confidential Material or Highly Confidential Material at the time of

designation, and failure to do so shall not preclude a subsequent challenge to the designation.

       4.      Use of Confidential Material Limited.

       Confidential Material and Highly Confidential Material and the portion of all writings,

including the portion of pre-trial court papers, that quote from, summarize, or comment upon

such materials shall be treated as confidential or highly confidential and used by counsel solely

for this litigation. Confidential Material and Highly Confidential Material may not be disclosed

to anyone except as provided in this Order. Notwithstanding the foregoing, each party shall be

permitted to use its own Confidential Material and Highly Confidential Material in any way it

chooses.

       5.      Not Applicable to Trial.

       This Order does not apply to the offer of or admission into evidence of Confidential

Information, Highly Confidential Information, Confidential Material, or Highly Confidential

Material or their contents at trial or in any evidentiary hearing, nor does it apply for any other




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purpose under the Federal Rules of Evidence. Such evidentiary issues may be raised as a

separate matter upon the motion of any party at the time of trial or evidentiary hearing.

       6.      Filing under Seal.

       It may be warranted to file Confidential Material, Highly Confidential Material, or

documents containing Confidential Information or Highly Confidential Information under seal.

Any party wishing to file a document or provide information to the Court that has been

designated as Confidential or Highly Confidential must first confer with the designating party

and must give that party reasonable time to request leave to seal the document(s) or other

information if that other party determines sealing is warranted and justified. Any party so

moving must do so promptly so as not to unreasonably delay these proceedings. Pursuant to the

Case Management Order entered on September 20, 2021, any party requesting that documents or

portions of documents be sealed must demonstrate compelling reasons to seal the documents and

must demonstrate that the sealing is narrowly tailored to those reasons. Any motion to seal, even

if unopposed, must provide, for each document, a detailed analysis of the reasons justifying

sealing, including factual support and legal citations.

       7.      Disclosure of Confidential Material.

       Confidential Material may be shown, disseminated, or disclosed only to the following

persons:

               (a)     The parties, including such officers or employees of the parties who are

actively involved in the prosecution or defense of this case;

               (b)     All attorneys of record for the parties;

               (c)     All regular and temporary employees of such attorneys to whom it is

necessary that the information or material be shown for the purposes of this litigation;




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                (d)    Experts and consultants engaged by the parties in connection with this

litigation, including their administrative or clerical staff. This shall not include the current

employees, officers, members, friends, mentors or agents of parties or affiliates of parties;

                (e)    All authors and intended or authorized recipients of the information

designated as “Confidential” or “Highly Confidential”;

                (f)    The court, court personnel, court reporters, and the jury;

                (g)    Witnesses (other than persons described in Paragraph 7(e)); and

                (h)    Photocopy vendors retained by the parties for discovery and preparation

for trial.

         8.     Disclosure of Highly Confidential Material.

         Highly Confidential Material may be given, shown, made available or communicated in

any way only to the individuals listed in categories (b), (c), (d), (f) and (h) in Paragraph 7 above.

It may not be given, shown, made available or communicated in any way to any parties to this

case (with the exception of the disclosing party to the extent the party is disclosing the

information), their officers, directors, employees, in-house counsel or in-house experts, or any

other persons or entities

         9.     Unintentional Disclosures.

         Documents unintentionally produced without designation as Confidential Information or

Highly Confidential Information later may be designated and shall be treated as Confidential

Information or Highly Confidential Information from the date written notice of the designation is

provided to the receiving party.

         If a receiving party learns of any unauthorized disclosure of Confidential Information or

Highly Confidential Information, the party shall immediately inform the producing party of all




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pertinent facts relating to such disclosure and shall make all reasonable efforts to prevent

disclosure by each unauthorized person who received such information.

       10.     Agreement by Disclosees.

       Before disclosure of any Confidential Material or Highly Confidential Material, a person

described in Paragraphs 7(d), (g), and (h) shall be advised of the terms of this Order, shall be

given a copy of this Order, and shall agree in writing to be bound by its terms and to submit to

the jurisdiction of this Court. Each such person shall execute an acknowledgement in the form

attached hereto.     Any person described in Paragraph 7(g) who will not sign the

acknowledgement form may be shown Confidential Material or Highly Confidential Material

only in a deposition at which the party who produced the Confidential Material or Highly

Confidential Material is represented. At the request of any party or non-party, the portion of the

deposition transcript involving the information designated as “Confidential” or “Highly

Confidential” shall be designated “Confidential” or “Highly Confidential” pursuant to Paragraph

2 above.     Persons described in Paragraph 7(g) who are shown information designated as

“Confidential” or “Highly Confidential” shall not be allowed to retain copies of said information.

       11.     Retention of Jurisdiction by Court.

       This Court shall retain jurisdiction to make amendments, modifications, and additions to

this Order as the Court may, from time to time, deem appropriate, as well as to resolve any

disputes about the disposition of Confidential Material or Highly Confidential Material.

       12.     Inadvertent Production Not a Waiver of Privilege.

       The production and/or copying of any document or documents by any party will not

constitute a waiver by that party of any claim of confidentiality, trade secret, attorney-client

privilege, attorney work-product doctrine, joint-defense privilege, or other privilege or immunity




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(collectively, “Privileges”). The production and/or copying of any document or documents that

concern a particular subject matter by any party shall not constitute a waiver with respect to any

Privileges potentially applicable to any other documents or other information pertaining or

relating to the same or similar subject matter. Any such waiver must be express and intentional.

Any party that receives a document that reasonably appears to be subject to Privileges and was

produced inadvertently shall immediately seal the document from disclosure and notify the

producing party. If the producing party requests that the document be returned, the receiving

party shall comply but may petition the Court for a ruling on whether the document should be

produced.

       13.     Third-Party Discovery.

       The parties agree that the production of any discovery material by any non-party shall be

subject to and governed by the terms of this Protective Order. Any party issuing a subpoena to a

non-party shall enclose a copy of this Protective Order and notify the non-party that the

protections of the Protective Order are available to such person.

       14.     Violations of Protective Order.

       In the event any person or party subject to this Protective Order violates or threatens to

violate any term of this Protective Order, the aggrieved party or non-party may immediately

apply to the Court to obtain injunctive relief against any such person violating or threatening to

violate any provision of this Protective Order. In any such proceeding, no person subject to the

provisions of this Protective Order shall assert as a defense that the aggrieved party or non-party

possesses an adequate remedy at law.




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       15.     Return or Destruction of Confidential or Highly Confidential Material.

       All provisions of this Order restricting the communication or use of Confidential Material

or Highly Confidential Material shall continue to be binding after the conclusion of this action,

unless otherwise agreed in writing by the parties hereto or ordered. At the conclusion of the

litigation, upon request of the party or non-party who provided the Confidential Material or

Highly Confidential Material, a party in the possession of Confidential Material or Highly

Confidential Material, other than that contained in pleadings and hearing or deposition

transcripts that have been filed in Court, shall either (a) return such documents no later than

thirty (30) days after the request of the party or non-party who provided such information; or (b)

destroy such documents within such time period and certify in writing within the thirty (30) day

period that the documents have been destroyed.

       16.     Court-Order Exception.

       Production of any Confidential Material or Highly Confidential Material in response to

an apparently lawful subpoena, motion or order of or in any court or other governmental agency

in another action by a party who has possession of such information through discovery in this

matter shall not be deemed a violation of any of the terms of this Order. The party receiving

such subpoena, motion or order, however, shall first promptly notify the producing party and

prior to production, if it can be done without placing the non-producing party in violation of the

subpoena, motion or order, and shall give the producing party the opportunity to secure

confidential treatment, whether by protective order or otherwise, for such materials upon terms

comparable to those applicable to such materials under the terms of this Order and/or seek to

block the production.




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       17.     Order Operable Prior to Court Entry.

       Until such time as this Protective Order has been entered by the Court, the parties agree

that, upon execution by the parties, it will be treated as though it has been “So Ordered.”

       It is so ORDERED.



                                              _________________________________
                                              JUDGE

DATE: _______________




Respectfully Submitted and
Approved for Entry:


/s/ Elizabeth G. Hart
THE SWAFFORD LAW FIRM, PLLC
Tara L. Swafford, BPR # 17577
Thomas Anthony Swafford, BPR # 17577
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Attorneys for Tri Star Sports
and Entertainment Group, Inc.




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been served
via the Court’s Electronic Filing System on:

       Roland Mumford
       Law Offices of Roland Mumford & Assoc.
       242 West Main Street, No. 223
       Hendersonville, TN 37075
       roland@mumfordlaw.net

       Daniel Eduardo Arciniegas
       Arciniegas Law
       1242 Old Hillsboro Road
       The Atrium Building
       Franklin Tennessee 37069
       Daniel@attorneydaniel.com

on this the ____ day of January 2022.

                                           /s/     Elizabeth G. Hart
                                                   Elizabeth G. Hart




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                                           EXHIBIT A


       1.      I, ___________________________, have read the foregoing Protective Order

entered in an action entitled Christie Andrews v. Tri Star Sports and Entertainment Group, Inc.,

U.S. District Court for the Middle District of Tennessee, Case No. 3:21-cv-00526 (the “Action”),

and agree to be bound by its terms with respect to any documents, tangible things, information or

materials that are furnished to me as set forth in the Protective Order;

       2.      I will not directly or indirectly disclose to anyone who is not otherwise permitted

to receive them under the Protective Order any documents, tangible things, information or

materials that have been designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”; and

       3.      I hereby agree that any documents, tangible things, information or materials

furnished to me will be used by me only for the purposes of this Action and for no other purpose,

and will be returned to the person who furnished such documents, tangible things, information or

materials to me or destroyed.



               Signature:       __________________________________________

                                Please Print or Type the Following

               Name:            __________________________________________

               Position/Title: __________________________________________

               Company:         __________________________________________

               Address:         __________________________________________

               Telephone:       __________________________________________

               Date:            __________________________________________




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